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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL
 Case No.        CV 18-5724-PSG (FFMx)                                           Date      September 18, 2018
 Title           ASHLEY JUDD V. HARVEY WEINSTEIN




 Present: The                 Philip S. Gutierrez, United States District Court Judge
 Honorable
                   Wendy Hernandez                                           Marea Woolrich
                     Deputy Clerk                                        Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                        Attorneys Present for Defendants:
                     Lauren Blas                                             Cynthia Zedalis
                Theano Evangelis Kapur                                     Phyllis Kupferstein
                     Michael Dore
 Proceedings:              DEFENDANT'S MOTION TO DISMISS
                           FILED 07-17-18 (DOC. 11)

     Having considered all papers submitted in support of and in opposition to the
Motion referenced above, and the oral argument presented today, the Court takes the
motion under submission.




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                                                               Initials of Preparer   wh




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